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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



  STATE OF NEW YORK, et al.,

                 Plaintiffs,

         v.                                                Case No. 1:25-cv-00196-MRD-PAS

  ROBERT F. KENNEDY, JR., in his official
  capacity as SECRETARY OF THE U.S.
  DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, et al.,



                 Defendants.


                        DECLARATION OF ANDRES IVAN NAVEDO

        ANDRES IVAN NAVEDO, an attorney admitted to practice before this Court and

 admitted to practice before the Courts of New York, does hereby state the following under

 penalty of perjury, pursuant to 28 U.S.C. § 1746:

        1.      I am an Assistant Attorney General in the Office of the Attorney General for the

 State of New York, and I appear on behalf of the State of New York in this action and am a

 member in good standing of the bar of the State of New York. I am admitted to appear in the

 United States District Court for the Districts of Kansas and Rhode Island, pursuant to this

 Court’s Text Order from May 6, 2025.

        2.      I submit this Declaration and its attached Exhibits in support of Plaintiff States’

 Motion for a Preliminary Injunction, pursuant to Federal Rule of Civil Procedure 65.

        3.      I make the following statements on the basis of my own knowledge or a review of

 files in my possession.


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        4.     Secretary Kennedy sat for a video-recorded interview with Dr. Jon LaPook of

 CBS News, that was published on April 10, 2025. A recording of that interview is available at

 https://youtu.be/o2U0csKvqMY?si=FLaUg8QmmPwLNSWB. Beginning at 17m05s in the

 published recording, Dr. LaPook asked the following questions, and Secretary Kennedy gave the

 following answers:


               “Q: But a lot of people were fired then rehired. Right? So the, I’m
               just wondering, you know, as like, I’m just trying to imagine, you
               know, and I’ve also, you know, run a company in the past. You
               know. Wouldn’t it have been better or was thought given to say
               before firing them, going through and saying ‘Hm. What is that
               job? What is that job?’ Line by line by line and saying, ‘I think that
               person’s job, maybe, isn’t needed.’ You know? This has to be
               eliminated—

               A: That would’ve been another approach and it’s the approach that
               has been, has failed for sixty years.

               Q: Because you mean it takes too long?

               A: It takes too long and you lose political momentum. You need to
               do—

               Q: But there are some casualties, the 20%—

               A: There is, yeah, and there is going to be, there are going to be
               casualties and there are going to be mistakes. And what our job is
               as we reconstitute this agency is to make sure that, you know,
               those mistakes are rectified.”

        5.     Attached as Exhibit 1 is a true and accurate copy of HHS Announces

 Transformation to Make America Healthy Again, Dep’t of Health & Human Servs. (Mar. 27,

 2025), https://www.hhs.gov/about/news/hhs-restructuring-doge.html.

        6.     Attached as Exhibit 2 is a true and accurate copy of Fact Sheet: HHS’

 Transformation to Make America Healthy Again, Dep’t of Health & Human Servs. (last

 reviewed Apr. 2, 2025), https://www.hhs.gov/about/news/hhs-restructuring-doge-fact-sheet.html.



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        7.       Attached as Exhibit 3 is a true and accurate copy of a Glossary of Acronyms that

 was attached to the Complaint, ECF No. 1-3, in this matter, that was prepared by counsel for the

 plaintiffs for the Court’s convenience.

        8.       Attached as Exhibit 4 is a true and accurate copy of a news publication by

 Alexander Tin, RFK Jr. says 20% of health agency layoffs could be mistakes, CBS News (Apr.

 3, 2025, 7:12 PM EDT), https://www.cbsnews.com/news/rfk-jr-hhs-job-cuts-doge-mistakes/.

        9.       Attached as Exhibit 5 is a true and accurate copy of a portion of About the

 Division of State Systems, Children’s Bureau, Off. of the Adm. for Children & Families (current

 as of June 30, 2024), https://acf.gov/cb/training-technical-assistance/state-tribal-info-

 systems/about-dss.

        10.      Attached as Exhibit 6 is a true and accurate copy of a news publication by Lorena

 O’Neil, How Trump’s CDC Purge Will Affect Reproductive Health: ‘Women Will Die’, Rolling

 Stone (Apr. 5, 2025), https://www.rollingstone.com/politics/politics-features/cdc-hhs-layoffs-

 impact-women-1235310574/.

        11.      Attached as Exhibit 7 is a true and accurate copy of a Notice of Award, dated

 April 8, 2025, from Centers for Disease Control and Prevention (CDC) to be received by Health

 Research Inc.

        12.      Attached as Exhibit 8 is a true and accurate copy of a Notice of Award, dated

 April 10, 2025, from CDC to be received by the Oregon Health Authority.

        13.      Attached as Exhibit 9 is a true and accurate copy of an email correspondence

 which began on April 1, 2025, between Meghan Joiner, Senior Associate General Counsel for

 Xcaliber International, and Ruth Hayes, Office on Smoking and Health, CDC, at the email

 address nccdoshfclaa@cdc.gov.



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        14.    Attached as Exhibit 10 is a true and accurate copy of materials describing the

 Head Start program, Head Start Approach, Headstart.gov, (last visited May 9, 2025),

 https://www.headstart.gov/programs/article/head-start-approach.

        15.    Attached as Exhibit 11 is a true and accurate copy of Frequently Asked Questions

 Related to the Poverty Guidelines and Poverty, Off. of the Assistant Sec’y for Plan. &

 Evaluation (last visited May 9, 2025), https://aspe.hhs.gov/topics/poverty-economic-

 mobility/poverty-guidelines/frequently-asked-questions-related-poverty-guidelines-poverty.

        16.    Attached as Exhibit 12 is a true and accurate copy of a news article by Arthur

 Allen, Trump HHS Eliminates Office That Sets Poverty Levels Tied to Benefits for at Least 80

 Million People, KFF Health News (Apr. 11, 2025), https://kffhealthnews.org/news/article/aspe-

 hhs-federal-poverty-guidelines-level-team-fired-medicaid-snap-wic/.

        17.    Attached as Exhibit 13 is a true and accurate copy of a news article by Rob Stein,

 With Trump coming into power, the NIH is in the crosshairs, NPR (Nov. 12, 2024, 1:16 PM ET),

 https://www.npr.org/transcripts/nx-s1-5183014.

        18.    Attached as Exhibit 14 is a true and accurate copy of a news article by Katherine

 Fung, Everything RFK Jr. Has Said About What He’ll Do if Named Trump Health Czar,

 Newsweek (Nov. 5, 2024, 11:46 AM EST), https://www.newsweek.com/rfk-public-health-

 vaccines-flouride-drinking-water-1979990.

        19.    Attached as Exhibit 15 is a true and accurate copy of Tobacco Ingredient and

 Nicotine Reporting, CDC (last visited May 9, 2025), https://www.cdc.gov/tobacco/php/state-and-

 community-work/reporting.html.




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        20.     Attached as Exhibit 16 is a true and accurate copy of Poverty Guidelines, Off. of

 the Assistant Sec’y for Plan. & Evaluation (last visited May 9, 2025),

 https://aspe.hhs.gov/topics/poverty-economic-mobility/poverty-guidelines.

        21.     Attached as Exhibit 17 is a true and accurate copy of a screenshot of a website

 hosted by USAspending.gov that contains a high-level summary of budget and obligated funding

 at the Department of Health and Human Services (last visited May 9, 2025),

 https://www.usaspending.gov/agency/department-of-health-and-human-services?fy=2024.

        22.     Attached as Exhibit 18 is a true and accurate copy of a news article by Julianne

 McShane, Inside the “Vital” Office for Reproductive Health Gutted by Mass HHS Firings,

 Mother Jones (April 4, 2025).

        23.     Attached as Exhibit 19 is a true and accurate copy of a news article by Moriah

 Balingit, Mass layoffs rattle Head Start leaders already on edge over funding problems,

 Associated Press (Apr. 2, 2025), https://apnews.com/article/head-start-office-closures-hhs-

 trump-00b1a6b33ef918cb66e59b7ffb07ac13.

        24.     Attached as Exhibit 20 is a true and accurate copy of the Declaration of Leonard

 F. Peruski, PhD, Director of the Wadsworth Center of the New York State Department of Health.

        25.     Attached as Exhibit 21 is a true and accurate copy of the Declaration of Wendy

 Underwood, Deputy Commissioner of the Minnesota Department of Health.

        26.     Attached as Exhibit 22 is a true and accurate copy of the Declaration of Gregory

 Hovan, Laboratory Director of the Delaware State Public Health Laboratory.

        27.     Attached as Exhibit 23 is a true and accurate copy of the Declaration of Glen R.

 Gallagher, PhD, Director of the Division of Rhode Island State Health Laboratories.




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        28.     Attached as Exhibit 24 is a true and accurate copy of the Declaration of Jerome

 Larkin, M.D., Director of the Rhode Island Department of Health.

        29.     Attached as Exhibit 25 is a true and accurate copy of the Declaration of Eli S.

 Rosenberg, PhD, Director of the Office of Science at the New York State Department of Health.

        30.     Attached as Exhibit 26 is a true and accurate copy of the Declaration of Jeffrey A.

 Brown, Acting Commissioner of the New Jersey Department of Health.

        31.     Attached as Exhibit 27 is a true and accurate copy of the Declaration of Katie

 Eilers, Director of the Office of Family and Community Health Improvement at the Washington

 State Department of Health.

        32.     Attached as Exhibit 28 is a true and accurate copy of the Declaration of Naomi

 Biggs, Public Health Director of the Oregon Health Authority.

        33.     Attached as Exhibit 29 is a true and accurate copy of the Declaration of Jennifer

 Epstein, Deputy Director of the Illinois Department of Public Health.

        34.     Attached as Exhibit 30 is a true and accurate copy of the Declaration of Steven

 Blessing, Director of the Delaware Division of Public Health. For clarity, Mr. Blessing submitted

 two declarations in support of Plaintiff States’ Motion for a Preliminary Injunction (see Exhibit

 53 below).

        35.     Attached as Exhibit 31 is a true and accurate copy of the Declaration of

 Christopher Simpson, Director of the Northwest Center for Occupational Health and Safety and

 the Deputy Director for the Pacific Northwest Agricultural Safety and Health Center at the

 University of Washington.

        36.     Attached as Exhibit 32 is a true and accurate copy of the Declaration of David

 Bonauto, Research Director at the State of Washington, Department of Labor & Industries.



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           37.   Attached as Exhibit 33 is a true and accurate copy of the Declaration of Christina

 Tan, State Epidemiologist and Assistant Commissioner of the Division of Epidemiology,

 Environmental, and Occupational Health at the New Jersey Department of Health.

           38.   Attached as Exhibit 34 is a true and accurate copy of the Declaration of Arthur

 Miller, retired Senior Research Engineer of the National Institute for Occupational Safety and

 Health.

           39.   Attached as Exhibit 35 is a true and accurate copy of the Declaration of Margaret

 Leland, Policy Director at the State of Washington, Department of Labor & Industries.

           40.   Attached as Exhibit 36 is a true and accurate copy of the Declaration of Eric Berg,

 Deputy Chief of Health for California’s Division of Occupational Safety and Health at the

 Department of Industrial Relations.

           41.   Attached as Exhibit 37 is a true and accurate copy of the Declaration of Michelle

 Davis, Deputy Commissioner of the Office of Public Health within New York State Department

 of Health.

           42.   Attached as Exhibit 38 is a true and accurate copy of the Declaration of Stephen

 Propheter, Director of the Early Education Division at the California Department of Education.

           43.   Attached as Exhibit 39 is a true and accurate copy of the Declaration of Elana

 Marton, Deputy Director and Counsel of the New York State Council on Children and Families.

           44.   Attached as Exhibit 40 is a true and accurate copy of the Declaration of Karen

 Pascale, the Head Start Collaboration Office Director for the Connecticut Office of Early

 Childhood.

           45.   Attached as Exhibit 41 is a true and accurate copy of the Declaration of Angela

 Rodgers, Deputy Director of Programs for the Arizona Department of Economic Security.



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         46.   Attached as Exhibit 42 is a true and accurate copy of the Declaration of Peter

 Hadler, Deputy Commissioner of the Connecticut Department of Social Services.

         47.   Attached as Exhibit 43 is a true and accurate copy of the Declaration of Lisa A.

 Schieffert, Deputy Cabinet Secretary of the Delaware Department of Health and Social Services.

         48.   Attached as Exhibit 44 is a true and accurate copy of the Declaration of Sarah

 Adelman, Commissioner of the New Jersey Department of Human Services.

         49.   Attached as Exhibit 45 is a true and accurate copy of the Declaration of Brice

 Montgomery, Director of the Community Services Division of the Washington State Department

 of Social and Health Services.

         50.   Attached as Exhibit 46 is a true and accurate copy of the Declaration of John Doe

 1, a former employee at the Division of Environmental Health Science and Practice, part of the

 National Center for Environmental Health within the Centers for Disease Control and

 Prevention.

         51.   Attached as Exhibit 47 is a true and accurate copy of the Declaration of John Doe

 2, an employee at the National Institute for Occupational Safety and Health.

         52.   Attached as Exhibit 48 is a true and accurate copy of the Declaration of Sara

 Gagne-Holmes, Commissioner of the State of Maine Department of Health and Human Services.

         53.   Attached as Exhibit 49 is a true and accurate copy of the Declaration of Alyssa

 Chatterjee, Early Learning System Director of the Oregon Department of Early Learning and

 Care.

         54.   Attached as Exhibit 50 is a true and accurate copy of the Declaration of Debra

 Standridge, Deputy Secretary of the Wisconsin Department of Health Services.




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        55.     Attached as Exhibit 51 is a true and accurate copy of the Declaration of Jennie

 Cunico, MC, Deputy Director of Public Health Operations and Licensing of the Arizona

 Department of Health Services.

        56.     Attached as Exhibit 52 is a true and accurate copy of the Declaration of Kristin J.

 Cummings, MD, MPH, ATSF, Branch Chief of the Occupational Health Branch at the California

 Department of Public Health.

        57.     Attached as Exhibit 53 is a true and accurate copy of the Declaration of Steven

 Blessing, Director of the Delaware Division of Public Health. For clarity, Mr. Blessing submitted

 two declarations in support of Plaintiff States’ Motion for a Preliminary Injunction (see Exhibit

 30 above).

        58.     Attached as Exhibit 54 is a true and accurate copy of the Declaration of Lauren E.

 Gilwee, Policy Director of the Maryland Department of Labor, Division of Workforce

 Development and Adult Learning.

        59.     Attached as Exhibit 55 is a true and accurate copy of the Declaration of Sarah

 Neville-Morgan, Assistant State Superintendent of the Division of Early Childhood at the

 Maryland State Department of Education.

        60.     Attached as Exhibit 56 is a true and accurate copy of the Declaration of Phillip A.

 Sanchez, Director of the Alcoholic Beverage Control Division of the New Mexico Regulation

 and Licensing Department.

        61.     Attached as Exhibit 57 is a true and accurate copy of the Declaration of Rajni

 Chawla, Executive Deputy Commissioner of the New York State Office of Temporary and

 Disability Assistance.




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         62.     Attached as Exhibit 58 is a true and accurate copy of the Declaration of Manoj

  Verma, Comprehensive Child Welfare Information System Director for the Washington State

  Department of Children, Youth, and Families.

         63.     Attached as Exhibit 59 is a true and accurate copy of the Declaration of Elizabeth

  Hertel, Director of the Michigan Department of Health and Human Services.

         64.     Attached as Exhibit 60 is a true and accurate copy of the Declaration of Valerie

  M. Kato, First Deputy Director of the Hawaiʻi State Department of Health.

         65.     Attached as Exhibit 61 is a true and accurate copy of CDC Publishes New HIV

  Surveillance Reports, CDC (May 21, 2024) https://www.cdc.gov/nchhstp/director-letters/cdc-

  publishes-new-hiv-surveillance-reports.html.

         66.     Attached as Exhibit 62 is a true and accurate copy of the Declaration of Manisha

  Juthani M.D., Commissioner of the State of Connecticut Department of Public Health.

         67.     Attached as Exhibit 63 is a true and accurate copy of a news article by Sarah

  Todd, Why CDC cuts are being called ‘the greatest gift to tobacco industry in the last half-

  century’, Statnews (Apr. 14, 2025), https://www.statnews.com/2025/04/14/cdc-closing-office-

  smoking-health-called-gift-to-big-tobacco-by-former-osh-director/.

         68.     Attached as Exhibit 64 is a true and accurate copy of a news article by Rachel

  Cohrs Zhang, RFK Jr. Ousts Top Officials in Bid to Overhaul US Health Agency Overhaul,

  Bloomberg (Apr. 1, 2025), https://www.bloomberg.com/news/articles/2025-04-01/us-health-

  agency-mass-firings-begin-as-kennedy-orders-10-000-

  cut?utm_source=website&utm_medium=share&utm_campaign=copy.

         69.     Attached as Exhibit 65 is a true and accurate copy of a news article by Adam

  Cancryn & Lauren Gardner, The FDA fired its tobacco enforcers. Now it wants them back.,



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  Politico (Apr. 14, 2025), https://www.politico.com/news/2025/04/14/fda-fired-tobacco-

  enforcers-asked-return-00289985.



  Dated:     New York, New York
             May 9, 2025

                                             _______/s/ Andres Ivan Navedo ____________
                                                   Andres Ivan Navedo
                                                   Assistant Attorney General
                                                   Office of the Attorney General
                                                   Of the State of New York




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